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 1                                                                The Honorable Barbara J. Rothstein
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 7                                      UNITED STATES DISTRICT COURT
                                       WESTERN DISTRICT OF WASHINGTON
 8                                               AT TACOMA
 9
     OLIVIA SELTO, et al.,                                   No. 3:22-cv-5384-BJR
10
                                          Plaintiffs,        DEFENDANTS’ UNOPPOSED
11                                                           MOTION TO STAY TRIAL COURT
                  v.                                         PROCEEDINGS
12
     COUNTY OF CLARK, et al.,
13                                                           NOTE ON MOTION CALENDAR:
                                          Defendants.        MONDAY, OCTOBER 2, 2023
14

15

16                                         I.     RELIEF REQUESTED
17
                  Defendants respectfully request a stay of all pre-trial deadlines and the October 30,
18
     2023, trial of this action, pending a decision by the Ninth Circuit Court of Appeals on
19
     Defendants’ interlocutory appeal from the Court’s September 28, 2023, denial of summary
20

21   judgment regarding qualified immunity. See ECR No. 65 (Order Denying Plaintiffs’ and

22   Defendants’ Motions for Summary Judgment), No. 67 (Defendants’ Notice of Appeal), and

23   68 (Defendants’ Representation Statement). The June 6, 2022, Standing Order for All Civil
24   Cases controls the filing of opposed motions and LCR 7(d) provides, in relevant part, that
25
     “[s]tipulated, joint or unopposed motions…shall be noted for consideration for the day they
26
     are filed.” Counsel conferred regarding stay of the trial court proceedings pending resolution
27
     DEFENDANT’S UNOPPOSED MOTION TO STAY
     TRIAL COURT PROCEEDINGS- 1                                  KEATING, BUCKLIN & MCCORMACK, INC., P.S.
     3:22-cv-5384 BJR                                                           ATTORNEYS AT LAW
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                                                                                FAX: (206) 223-9423
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     of Defendants’ interlocutory appeal and Plaintiffs’ counsel stated: “[p]lease note in your
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     motion that the parties have conferred and plaintiffs acknowledge the issue of judicial
 2

 3   economy, object to a stay, but do not intend to file a separate memorandum.”

 4                                                       II.    FACTS
 5                On September 28, 2023, this Court denied Defendants’ June 1, 2023, motion for
 6
     summary judgment requesting an order granting qualified immunity to Defendants Anderson
 7
     and Feller. ECF No. 65. On September 29, 2023, Defendants Anderson and Feller filed a
 8
     Notice of Appeal and a Representation Statement. ECF Nos. 67 and 68.
 9

10                                           III.        ISSUE PRESENTED

11                Whether the Court should stay all pending pre-trial deadlines and the October 30,

12   2023, trial pending the appellate court’s resolution of Defendants’ interlocutory appeal.
13                                     IV.      EVIDENCE RELIED UPON
14
                  Defendants rely upon the court record and the argument and authorities below.
15
                                                    V.         ARGUMENT
16
                  Officials performing discretionary functions generally are shielded from liability for
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18   civil damages, insofar as their conduct does not violate clearly established rights of which a

19   reasonable person would have known. Harlow v. Fitzgerald, 457 U.S. 800, 818 (1992).

20   Qualified Immunity shields a defendant from damages and removes the burden of trial in
21
     mounting a defense to liability. Johnson v. Fankell, 520 U.S. 911, 915 (1997). Importantly,
22
     qualified immunity is immunity from suit, rather than a mere defense. Mitchell v. Forsyth,
23
     472 U.S. 511, 526 (1985). Like absolute immunity, it is effectively lost if the case is
24
     erroneously permitted to go to a jury. Id. Thus, a district court’s denial of a claim of qualified
25

26   immunity, to the extent that it turns on an issue of law, is an immediately appealable “final

27   decision” within the meaning of 28 U.S.C. § 1291. Mitchell, 472 U.S. at 527; Ames v. King
     DEFENDANT’S UNOPPOSED MOTION TO STAY
     TRIAL COURT PROCEEDINGS- 2                                         KEATING, BUCKLIN & MCCORMACK, INC., P.S.
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     County, 846 F.3d 340, 347 (9th Cir. 2017); Rodarte v. Skagit County, No. 2:20-cv-885-BJR,
 1
     2021 WL 6197004 (W.D. Washington 12/30/2021) (citing Mitchell, 472 U.S. at 530 (1985)).
 2

 3                Under Ninth Circuit law, the Court is “automatically divested of jurisdiction to

 4   proceed with trial pending appeal” when a Section 1983 defendant appeals the denial of
 5   qualified immunity, unless the trial court certifies in writing that the defendant's claim of
 6
     qualified immunity is frivolous or has been waived. Chuman v. Wright, 960 F.2d 104, 105
 7
     (9th Cir. 1992). “A district court has discretionary power to stay proceedings in its own
 8
     court.” Lockyer v. Mirant Corp., 398 F.3d 1098, 1109 (9th Cir. 2005) (citing Landis v. North
 9

10   American Co., 299 U.S. 248, 254, 57 S.Ct. 163, 81 L.Ed. 153 (1936)). “In this circuit, where,

11   as here, the interlocutory claim is immediately appealable, its filing divests the district court

12   of jurisdiction to proceed with trial. United States v. Claiborne, 727 F.2d 842, 850 (9th
13   Cir.1984), cert. denied, 469 U.S. 829, 105 S.Ct. 113, 83 L.Ed.2d 56 (1984).”
14
                  Though “[a] district court isn't divested of jurisdiction ‘to address aspects of the case
15
     that are not the subject of the appeal’” (Leibel v. City of Buckeye, 382 F. Supp. 3d 909, 913
16
     n.1 (D. Ariz. 2019)) because “[t]he court retains jurisdiction over the rest of the claims, a stay
17

18   pending appeal may nevertheless be warranted.” Johnson v. City of Mesa, No. CV-19-02827-

19   PHX-JAT, 2022 WL 137619 (D. Arizona January 14, 2022). Judicial discretion in exercising

20   a stay is guided by the Landis factors:
21
                  Where it is proposed that a pending proceeding be stayed, the competing
22                interests which will be affected by the granting or refusal to grant a stay
                  must be weighed. Among those competing interests are the possible damage
23                which may result from the granting of a stay, the hardship or inequity which
                  a party may suffer in being required to go forward, and the orderly course
24                of justice measured in terms of the simplifying or complicating of issues,
                  proof, and questions of law which could be expected to result from a stay.
25

26   Lockyer, 398 F.3d at 1110 (citing Landis, 299 U.S. at 268. Here, considerations of fairness

27   and judicial economy warrant a stay of all pretrial deadlines and the October 30 trial.
     DEFENDANT’S UNOPPOSED MOTION TO STAY
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                  A stay will not prejudice Plaintiffs, who only claim monetary damages, seek no
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     injunctive or declaratory relief, and who do not oppose this motion. See ECF No. 1. Plaintiffs’
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 3   interests will be wholly unaffected by a stay in the trial proceedings and trial. In contrast,

 4   Defendants will suffer significant hardship and inequity in being forced to prepare for and
 5   conduct a trial where the court of appeals may determine there has been no constitutional
 6
     violation. Qualified immunity offers complete protection for a government official sued in
 7
     his individual capacity. Wood v. Kesler, 323 F3rd 872 (11th Cir. 2003).
 8
                  Individual defendants are generally immune if they could objectively believe that
 9

10   their conduct was lawful. Lambert v. Richard, 59 F.3d 134, 137 (C.A.9 (Cal.) 1995) (citing

11   Act Up!/Portland v. Bagley, 988 F.2d 868, 871 (9th Cir. 1992)). The relevant question is

12   whether a reasonable officer could have believed that the actions taken were lawful in light
13   of clearly established law and the information the acting officer possessed at the time.
14
     Anderson v. Creighton, 483 U.S. 635, 641 (1987); Fuller v. MG. Jewelry, 950 F.2d 1437,
15
     1443 (9th Cir. 1991). The qualified immunity standard “gives ample room for mistaken
16
     judgments” by protecting “all but the plainly incompetent or those who knowingly violate
17

18   the law.” Hunter v. Bryant, 502 U.S. 224, 229 (1991) (quoting Malley v. Briggs, 475 U.S.

19   335, 343 (1986)). Monell liability cannot exist absent an underlying violation of the plaintiff's

20   constitutional rights related to an official policy or custom in question. Benas v. Baca, 159 F.
21
     App'x 762, 768 (9th Cir. 2005); see also Acedo v. Cnty. of San Diego, No. 17-cv-2592, 2018
22
     WL 3425976 at *10 (S.D. Cal. July 16, 2018); Andrade v. City of Burlingame, 847 F. Supp.
23
     760, 767 (N.D. Cal. 1994). The resolution of Defendants’ interlocutory appeal is a necessary
24
     prerequisite to maintaining any constitutional claim. Id.
25

26                The orderly course of justice, measured in terms of simplifying issues, proof, and

27   questions of law which could be expected to result from a stay strongly support a stay. A stay
     DEFENDANT’S UNOPPOSED MOTION TO STAY
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     will result in the preservation of significant judicial resources and the elimination of
 1
     potentially conflicting legal findings, which are paramount considerations.
 2

 3                                          VI.      CONCLUSION

 4                Defendants respectfully requested that the Court exercise its discretion and stay the
 5   trial proceedings and deadlines, including the October 30, 2023, trial, until Defendants’ claim
 6
     of qualified immunity is resolved by the Ninth Circuit Court of Appeals.
 7
                  I certify that this memorandum contains 1184 words, in compliance with the Local
 8
     Civil Rules.
 9

10                DATED: October 2, 2023.

11                                                KEATING, BUCKLIN & McCORMACK, INC., P.S.

12
                                                  By: /s/ Paul J. Triesch
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               Case 3:22-cv-05384-BJR Document 69 Filed 10/02/23 Page 6 of 6




 1                                      CERTIFICATE OF SERVICE

 2                I hereby certify that on October 2, 2023, I electronically filed the foregoing with the

 3   Clerk of the Court using the CM/ECF system which will send notification of such filing to

 4   the following:

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     DATED: October 2, 2023.
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